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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

_____________________________________________

UNITED STATES OF AMERICA,                                    DECISION AND ORDER

v.                                                           09-CR-0096(S)(M)

ALEX KOSCHTSCHUK, et al.,

                              Defendants.

____________________________________________

               This case was referred to me by Hon. William M. Skretny for supervision of all

pretrial proceedings [108].1 Familiarity with the background of this case is presumed, and will

be discussed only as necessary for purposes of this Decision and Order.

               Defendants have filed a number of motions, including a motion to dismiss the

Third Superseding Indictment [143] due to “outrageous government conduct” [386], and a

motion to suppress all evidence obtained pursuant to Title III warrants signed by Judge Skretny

[368]. Defendants have requested an evidentiary hearing in connection with these motions. For

the following reasons, I conclude that a hearing should be held. Resolution of all other issues

raised in defendants’ pretrial motions will be deferred pending conclusion of the hearing.



                                        BACKGROUND

               Defendants are allegedly members of the Chosen Few Motorcycle Club

(“CFMC”). They are charged in a thirty-two count Third Superseding Indictment with, inter

alia, numerous racketeering counts. The investigation leading to these charges arose because of



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               Bracketed references are to CM/ECF docket entries.
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increased hostilities between the CFMC and the Kingsmen Motorcycle Club (“KMC”) beginning

in or about July 2008. In connection with the investigation, the government made extensive use

of a “confidential human source” (“CHS”), whom it subsequently identified as David Ignasiak, a

(now former) CFMC member.

               According to the government, when it first began utilizing Ignasiak as a CHS in

2006, he was warned that “he could not engage in any criminal activity without the prior

approval of the FBI . . . and that if he did engage in criminal activity without this approval, he

was subject to prosecution for it”. Government’s Bill of Particulars [321], p.3. In the summer of

2008, Ignasiak began wearing a wire in order to record conversations with CFMC members.

Musitano Affirmation [386], ¶17. On August 20, 2008, he told FBI Special Agent Kenneth

Jensen, Jr. that he had been asked to accompany CFMC members that evening in order to “find

and assault any member of the KMC that the group came across”. Jensen Affidavit [370], Ex. D,

¶30. According to the government, “prior to and in anticipation of that incident [the assault] the

case agents instructed David Ignasiak that, to the extent possible, he was to act as a ‘spectator,’

and was to participate in the activities of the co-conspirators only to the extent necessary to

prevent the participants from discovering that he (Ignasiak) was cooperating with the FBI”.

Government’s Bill of Particulars [321], p.3 (emphasis added).

               In Count nine of the Third Superseding Indictment, the government alleges that on

the evening of August 20, 2008, several CFMC members attacked KMC member Eugene

Siminski with an axe handle. SA Jensen referred to that incident in applying to Judge Skretny

for a Title III intercept warrant on October 22, 2008. In his Affidavit in support of the

application, SA Jensen downplayed Ignasiak’s involvement in the assault, stating that Ignasiak


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(whom he referred to as “CHS” rather than by name) told him that he was in a vehicle at the time

of the assault and that he “locked the door of the vehicle intentionally so that he would not have

to participate in the violence”. LaTona Declaration [368], Ex. D, ¶31. SA Jensen then vouched

for Ignasiak’s credibility, telling Judge Skretny that he had “listened to the portion of the

recording where the above described events occurred and state that the information provided in

the debriefing of the CHS appears accurate”. Id., ¶32. He also told Judge Skretny that the

“information provided by CHS is accurate and reliable and has never proved to be intentionally

false or misleading”. Id., ¶13.

                Whereas he assured Judge Skretny that the recordings confirmed that Ignasiak did

not participate in the attack on Siminski, several months later SA Jensen gave me a different

version of events. In his May 6, 2009 Affidavit submitted in support of the Complaint which

commenced this criminal proceeding, SA Jensen told me that “[b]ased on recordings, I am aware

that on August 20, 2008, BRADLEY BEUTLER, MARTIN WHITEFORD, PAUL ROORDA,

and David Ignasiak attacked a KMC member . . . with an axe handle.” LaTona Declaration

[368], Ex. F, ¶14 (emphasis added).

                The government argues that “the fact that agent Jensen may have changed his

description of the attack from October 28, 2008 to May 9, 2009 does not, as a matter of fact,

mean the earlier representation was false”. Government’s Response [384], p.14.2 Maybe so, but

the discrepancy certainly warrants further inquiry. A review of the recording of that incident

(Ignasiak was wired at the time) strongly suggests that, far from being a mere “spectator”,

Ignasiak was at least an avid cheerleader, if not the outright orchestrator of the assault. He can be

       2
                 I assume that the government intended to refer to October 22, 2008 and May 6, 2009, as
those are the dates of the Affidavits in question.

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heard telling CFMC members that “I talked to Al [Koschtschuk], he requested me to run the

situation tonight . . . . Anyone that’s not interested or don’t like what I said then, leave. Simple

as that”. [386-1], p.3.3 Later, he states “this is the opportunity, come on guys . . . . Paul why

didn’t you f*cking hit him”. Id., pp.25, 27. In fact, when one of the other CFMC members at

one point suggests that they damage Siminski’s boat instead of assaulting him, Ignasiak replies

that they are “going after individuals, not property . . . the boat didn’t do nothing”. Id., p.5.

                The recording of the assault strongly suggests that Ignasiak was squarely in the

midst of the fray, rather than locked in a car, as he allegedly told SA Jensen. Indeed, if Ignasiak

were truly concerned about not arousing undue suspicion, then locking himself in the car while

the assault was in progress would seem an unlikely thing to do. In fact, at one point, one of the

other CFMC members says to make sure that the “child protection” door locks are not engaged,

to which Ignasiak replies “nothing like being pinned in”. [386-1] p.9.

                The government’s acknowledgment that “Ignasiak’s conduct in that count

[relating to the assault on Siminski] wasn’t perhaps what it should have been” ([386], Ex. J, pp.2-

3) leads to further questions as to whether Ignasiak was being truthful with SA Jensen when

describing the August 20 incident, and/or whether SA Jensen was being truthful with Judge

Skretny.4




        3
              Although this statement was recorded, the alleged instructions to Ignasiak from
Koschtschuk were for some reason not recorded.
        4
                At this point I have not concluded that anyone was (or was not) being truthful. I will
consider the matter further upon conclusion of the hearing.

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                                           ANALYSIS

A.       Outrageous Government Conduct

               “The concept of fairness embodied in the Fifth Amendment due process guarantee

is violated by government action that is fundamentally unfair or shocking to our traditional sense

of justice . . . or conduct that is ‘so outrageous’ that common notions of fairness and decency

would be offended were judicial processes invoked to obtain a conviction against the accused.”

United States v. Schmidt, 105 F.3d 82, 91 (2d Cir.1997), cert. denied, 522 U.S. 846 (1997).

“Especially in view of the courts’ well-established deference to the Government’s choice of

investigatory methods . . ., the burden of establishing outrageous investigatory conduct is very

heavy.” United States v. Rahman, 189 F.3d 88, 131 (2d Cir.1999), cert. denied, 528 U.S. 982

(1999). In fact, “a due process challenge to an indictment based on outrageous government

conduct has almost never succeeded”. United States v. Williams, 372 F.3d 96, 112 (2d Cir.

2004).

               However, the fact that defendants may face an uphill battle in proving outrageous

government conduct does not allow me to ignore the issue altogether. “[A] claim that the

government has acted outrageously is taken seriously because ensuring that the government does

not trample in an unconscionable manner on individual dignity is a bed-rock duty of judicial

officers. Sometime’s the government’s involvement in manufacturing crime is demonstrably

outrageous, and in those cases, the convictions of targeted defendants have been set aside.”

Schmidt, 105 F.3d at 91.




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               “Although there is no set formula for determining when Government conduct

transgresses the boundaries of permissible investigative techniques, there are some recognized

factors . . . . [W]e will closely examine those cases in which the Government misconduct

injures third parties in some way.” United States v. Thoma, 726 F.2d 1191, 1199 (7th Cir.1984),

cert. denied, 467 U.S. 1228 (1984). “It would be unthinkable to permit government agents to

instigate . . . beatings merely to gather evidence to convict other members of a gang of hoodlums.

Governmental ‘investigation’ involving participation in activities that result in injury to the rights

of its citizens is a course that courts should be extremely reluctant to sanction.” United States v.

Chin, 934 F.2d 393, 400 (2d Cir.1991) (quoting United States v. Archer, 486 F.2d 670, 676-77

(2d Cir. 1973)). See also United States v. Longo, 70 F.Supp.2d 225, 270 (W.D.N.Y. 1999)

(Skretny, J./Foschio, M.J.) (“What constitutes a demonstrable level of outrageousness cannot be

identified with precision, but the due process claim, in the rare instances when successful, has

prevailed to restrain law enforcement activities that involve . . . outrageous violation of physical

integrity”).

               “[T]he defense of outrageous Government conduct is not for the jury to consider,

but must be decided by the trial court.” United States v. Nunez-Rios, 622 F.2d 1093, 1098 (2d

Cir. 1980).5 “A motion to dismiss an indictment alleging outrageous governmental conduct is a

question of law directed to the trial judge and review of rulings thereon is de novo . . . . Clearly,


        5
                 This defense is to be distinguished from the defense of entrapment, which is decided
by the jury. “A successful entrapment defense requires that a defendant convince the fact-finder
that government agents induced her to commit an offense that she was not otherwise predisposed to
commit . . . . A defendant who unsuccessfully advances an entrapment defense before the trier of fact
may nonetheless succeed in mounting a successful attack on an indictment based upon a showing of
governmental conduct that is found by the court to be outrageous.” United States v. Cuervelo, 949 F.2d
559, 565 (2d Cir. 1991).


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such a review is facilitated when a hearing on the issues presented has been held by the district

court and a record has been constituted.” Cuervelo, 949 F.2d at 567. While it is true that

“[w]ithout disputed facts, no hearing [is] necessary”, United States v. LaPorta, 46 F.3d 152, 160

(2d Cir. 1994), in this case the facts - and the inferences to be drawn from those facts - are

sharply in dispute.

               The government argues that defendants’ “speculation does not implicate the

government or the FBI in Ignasiak’s actions. Thus, at best, the defendants can claim that

Ignasiak personally engaged in ‘outrageous conduct’, but that is it as far as it goes”.

Government’s Response [409], p.6. Not necessarily. As indicated in the government’s Bill of

Particulars, agents instructed Ignasiak in anticipation of the August 20, 2008 assault as to what

he could and could not do, and it does not appear from that document that the government

unequivocally forbade him from actively participating in the assault if necessary to avoid

arousing suspicion.

               Moreover, the standard for determining whether an individual is acting as “an

agent of the government . . . does not take a solely ex ante perspective . . . . The government may

become a party [to the individual’s actions] through nothing more than tacit approval”. United

States v. Knoll, 16 F.3d 1313, 1320 (2d Cir.), cert. denied, 513 U.S. 1015 (1994). In light of the

government’s warning to Ignasiak that he would be prosecuted for participating in criminal

activity without FBI approval (government’s Bill of Particulars [321], p.3), it will be highly

relevant to learn whether the government has referred (or intends to refer) Ignasiak for

prosecution relating to the assault on Siminski, or for damaging the CFMC clubhouse with a

baseball bat on March 11, 2009. Bruce affidavit [239], ¶26.



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                The government contends that it was the latter incident, coupled with Ignasiak’s

refusal to return his “patches and colors” when he quit the CFMC in February 2009, which led

some of the defendants to plan a “hit” on Ignasiak in the spring of 2009.6 See SA Jensen’s

affidavit in support of the Complaint in United States v. Koschtschuk, et al., 09-M-1031, ¶¶18,

et. seq.). That plan, in turn, was the subject of charges in the Complaint - and is the subject of

charges in the Third Superseding Indictment (see, e.g., Counts Eleven and Twelve) - of

conspiracy to assault or murder Ignasiak.

                The government’s level of knowledge, involvement with, and approval of

Ignasiak’s actions are appropriate subjects for inquiry at the hearing. “It cannot be gainsaid that

myriad facts and circumstances can arise in the complex context of what is commonly frequent

and close interaction among government agents, witnesses and prospective defendants. A

hearing allows for a searching inquiry into the particulars of the investigative process employed

by the government, as the court undertakes to sort through the various conflicting claims, and

permits factual determinations to be made by the district judge. A hearing also provides the

district judge with an opportunity to observe the demeanor and assess the credibility of various

witnesses. Most often, conducting a hearing is the preferred course of action in cases where

disputed factual issues exist.” Cuervelo, 949 F.2d at 567.

                In advance of the hearing, defendants seek production of the grand jury minutes in

order to determine which version of the Siminski assault was presented to the grand jury.


        6
                   AUSA Bruce stated at oral argument that “the FBI returned his colors to the club”. At
this point it is unclear when this occurred, or why it was not done by Ignasiak himself. If the government
was interested in averting violence (see, e.g., ¶¶36-38 of SA Jensen’s October 22, 2008 Affidavit, stating
that agents met with defendant Alex Koschtschuk on August 22, 2008 to encourage him to end the
hostilities with the KMC), then encouraging Ignasiak’s prompt return of his colors to the CFMC would
seem to have made sense.

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Musitano Affirmation [386], ¶28. Because the grand jury presentation bears no relation to

whether Ignasiak was acting as a government agent at the time of the assault, I conclude that this

discovery is not warranted.



B.      Franks Hearing

               Defendants also seek to suppress all evidence obtained pursuant to the Title III

intercept warrants issued by Judge Skretny, arguing that the showing of necessity for those

warrants was inadequate. “While Title III allows for wiretaps in limited circumstances, law

enforcement must apply for a court order before conducting such surveillance, 18 U.S.C. §2518,

and set forth ‘a full and complete statement as to whether or not other investigative procedures

have been tried and failed or why they reasonably appear to be unlikely to succeed if tried or to

be too dangerous,’ id. §2518(1)(c). The district court must ensure that this standard has been

met, id. §2518(3)(c), so that ‘wiretapping is not resorted to in situations where traditional

investigative techniques would suffice to expose the crime’.” United States v. Concepcion, 579

F.3d 214, 218 (2d Cir. 2009).

               In connection with their motion to suppress, defendants request a hearing pursuant

to Franks v. Delaware, 438 U.S. 154 (1978). In order to obtain such a hearing, defendants must

make a “substantial preliminary showing” that “a deliberate falsehood or statement made with

reckless disregard for the truth was included in the warrant affidavit”, and that “ the statement

was necessary to the judge’s finding”. United States v. Falso, 544 F.3d 110, 125 (2d Cir. 2008)

(citing Franks). Defendants seek a hearing concerning “both material misrepresentations and

material omissions regarding the necessity requirement.” Defendant Whiteford’s Reply [435], p.



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4. Although Franks dealt with the issue of probable cause, “[t]he necessity requirement is also

subject to the Franks analysis for challenging the veracity of affidavits supporting the wiretap

application.” United States v. Moran, 349 F.Supp.2d 425, 461 (N.D.N.Y. 2005); United States v.

Rajaratnam , 2010 WL 3219333, *1 (S.D.N.Y. 2010).

               For the reasons previously discussed, I conclude that defendants have made a

substantial preliminary showing that SA Jensen’s representations concerning Ignasiak’s

involvement in the August 20 assault may have been deliberately or recklessly false. If so, it

becomes “no more than prudent to regard all that he says with strong suspicion, and to place no

reliance on his mere statements”. United States v. Weinstein, 452 F.2d 704, 713 (2d Cir. 1971),

cert. denied, 406 U.S. 917 (1972). See also United States v. Schenck, 1994 WL 55765, *4

(W.D.N.Y. 1995) (Skretny, J.) (“the Court finds that Paul Schenck made false statements under

affirmation concerning a material matter . . . and that his entire testimony is therefore suspect”).

               In turn, the questions which have arisen regarding Ignasiak’s truthfulness and

reliability may infect the entire warrant application. “Courts have held Franks hearings where a

defendant has shown that an affiant recklessly depended on and included information from

unreliable informants.” United States v. Makki, 2007 WL 781821, *10 (E.D.Mich. 2007);

United States v. Banks, 2009 WL 3165766, *4 (N.D.N.Y. 2009) (conducting a Franks hearing

where the affiant omitted facts that undermined the credibility of the complainant). For

example, had Judge Skretny had been aware of Ignasiak’s credibility issues, it may have

weakened his view of SA Jensen’s necessity showing, which relied heavily on Ignasiak’s

concern that he was under suspicion by the CFMC’s hierarchy (thereby limiting his ability to

make consensual recordings). La Tona Affidavit [368], Ex. D, ¶83.



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                Recognizing that “in the context of a Franks challenge to a search warrant, the

trial judge has discretion to determine what type of hearing is necessary to determine the

credibility of the affiant”, United States v. Ostipow, 2009 WL 1259967, *5 (E.D.Mich. 2009),

Report and Recommendation adopted by 2009 WL 1312886, I conclude that a Franks hearing is

necessary explore the veracity of SA Jensen’s representations concerning Ignasiak’s involvement

in the August 20 assault, as well as his other representations concerning the necessity for

electronic surveillance.

               In advance of the hearing, defendants seek “all documents and information which

might tend to show that the Government had failed to disclose all of the information required by

statute” for demonstrating necessity. LaTona Affidavit [368], ¶58. I agree that defendants are

entitled to some pre-hearing discovery, and order the government to provide them with the

surveillance reports existing up to the dates of the respective warrant applications by March 18,

2011. See United States v. Humphrey, 2011 WL 691767, *2 (W.D.N.Y. 2011) (Scott, M.J.).



                                         CONCLUSION

               For these reasons, a hearing will be held before me to further explore defendants’

claims with regard to outrageous government conduct and the validity of the Title III warrants.

Although I will not define the precise contours of the hearing at this point, I wish to emphasize

that it will be limited to those areas in which showings of potential improprieties have been

made, and may not be treated as a vehicle for defendants to lay bare the government’s entire case

- nor will I allow unlimited questioning by each defendant’s attorney.




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               Another conference will be held on March 23, 2011 at 10:30 a.m. to further refine

the parameters of the hearing. The parties shall file their proposed witness lists, including areas

of intended inquiry, by noon on March 22, 2011. The resolution of all other aspects of

defendants’ motions [368 and 386], and all other issues raised in defendants’ other dispositive

pretrial motions, will be deferred pending conclusion of the hearing.



SO ORDERED

Dated: March 10, 2011

                                                       /s/ Jeremiah J. McCarthy
                                                       JEREMIAH J. MCCARTHY
                                                       United States Magistrate Judge




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